                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


BONGO PRODUCTIONS, LLC, and                    )
ROBERT BERNSTEIN,                              )
                                               )
Plaintiffs,                                    )
                                               )
v.                                             )         Case No. 3:21-cv-00490
                                               )         Judge Aleta A. Trauger
CARTER LAWRENCE, Tennessee State               )
Fire Marshall, in his official capacity,       )
CHRISTOPHER BAINBRIDGE, Director )
of Code Enforcement, in his official capacity, )
GLENN R. FUNK, District Attorney               )
General for the 20th Judicial District, in his )
official capacity, and NEAL PINKSTON,          )
District Attorney General for the 11th         )
Judicial District, in his official capacity,   )
                                               )
Defendants.                                    )


                                          ORDER

       For the reasons explained in the accompanying Memorandum, the plaintiffs’ Motion for

Summary Judgment (Doc. No. 35) is hereby GRANTED as to all defendants except District

Attorney General Neal Pinkston. Because the only plaintiffs within Pinkston’s territorial

jurisdiction voluntarily dismissed their claims, any remaining claims pending against Pinkston

are DISMISSED for lack of jurisdiction. The remaining defendants are hereby ORDERED to

take no actions to enforce House Bill 1182/Senate Bill 1224, as described in the Memorandum,

and the court hereby DECLARES that enforcement of that law would violate the First

Amendment. The Clerk shall enter judgment in accordance with Rule 58 of the Federal Rules of




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Civil Procedure. Any request for attorney’s fees shall be considered pursuant to a separate

motion.

       It is so ORDERED.



                                                        ______________________________
                                                        ALETA A. TRAUGER
                                                        United States District Judge




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